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                                       5   Attorneys for Defendant
                                           KELLY LIANG
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                                       8                                IN THE UNITED STATES DISTRICT COURT

                                       9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

                                      10

                                      11   UNITED STATES OF AMERICA,                            ) Case No. 2:08-CR-00544-GEB
                                                                                                )
                                      12                   Plaintiff,                           ) STIPULATION AND ORDER
                                                                                                ) MODIFYING RELEASE CONDITION
             Sacramento, California
B ARTH D ALY LLP




                                      13          v.
                Attorneys At Law




                                                                                                )
                                                                                                )
                                      14   KELLY LIANG,                                         )
                                      15                   Defendant.                           )
                                                                                                )
                                      16                                                        )
                                                                                                )
                                      17

                                      18          The parties hereby stipulate that the pre-trial release condition requiring Kelly Liang be
                                      19   subject to electronic monitoring be stricken. Pre-trial Services concurs with the removal of the
                                      20   electronic monitoring condition. All other pre-trial release conditions remain unchanged. A copy of
                                      21   the proposed new release conditions are attached hereto as Exhibit A.
                                      22   Dated: March 24, 2014.                 BARTH DALY LLP
                                      23

                                      24
                                                                                  By       /s/ Kresta Nora Daly
                                      25                                               KRESTA NORA DALY
                                                                                       Attorneys for Kelly Liang
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                                           ____________________________________________________________________________________________________________
                                           Stipulation and [Proposed] Order                   1                                   2:08-CR-00544-GEB
                                                 Case 2:08-cr-00544-GEB Document 104 Filed 03/26/14 Page 2 of 3


                                       1   Dated: March 24, 2014.

                                       2

                                       3
                                                                                  By       /s/ Kresta Nora Daly
                                       4                                               Olusere Olowoyeye
                                                                                       Assistant United States Attorney
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                                       8          Good cause appearing, the pre-trial release condition requiring Kelly Liang be subject to
                                       9   electronic monitoring is hereby stricken. All other pre-trial release conditions remain unchanged.
                                      10   The amended conditions are attached to this order.
                                      11

                                      12   Dated: March 25, 2014
             Sacramento, California
B ARTH D ALY LLP




                                      13
                Attorneys At Law




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                                      15                                                   ______________________________________
                                                                                           United States District Magistrate
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                                           Stipulation and [Proposed] Order                   2                                   2:08-CR-00544-GEB
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                  AMENDED SPECIAL CONDITIONS OF RELEASE

                                                          RE: Liang, Kelly
                                                          Doc. No. 2:08-CR-0544
                                                          March 20, 2014

1.    You shall report to and comply with the rules and regulations of the Pretrial Services Agency;

2.    You shall report in person to the Pretrial Services Agency on the first working day following your
      release from custody;

3.    You are to reside at a location approved by the pretrial services officer and not move or absent
      yourself from this residence for more than 24 hours without the prior approval of the pretrial
      services officer;

4.    You shall cooperate in the collection of a DNA sample;

5.    Your travel is restricted to the Eastern District of California without the prior consent of the pretrial
      services officer;

6.    You shall not possess a firearm/ammunition, destructive device, or other dangerous weapon;
      additionally, you shall provide written proof of divestment of all firearms/ammunition currently
      under your control;

7.    You shall surrender your passport to the Clerk, U. S. District Court, and obtain no passport during
      the pendency of this case;

8.    You shall report any contact with law enforcement to your pretrial services officer within 24 hours;

9.    You shall submit to drug and/or alcohol testing as approved by the pretrial services officer. You
      shall pay all or part of the costs of the testing services based upon your ability to pay, as determined
      by the pretrial services officer;

10.   You shall refrain from excessive use of alcohol or any use of a narcotic drug or other controlled
      substance without a prescription by a licensed medical practitioner; and you shall notify Pretrial
      Services immediately of any prescribed medication(s). However, medicinal marijuana, prescribed
      or not, may not be used;

11.   You shall not associate or have any contact with co-defendant’s, with the exception of Mitchell
      Chang your husband, in this pending case unless in the presence of counsel or otherwise approved
      in advance by the pretrial services officer.




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